Case 1:07-cv-02433-CBA-RER Document 94-4 Filed 04/28/11 Page 1 of 7 PagelD #: 715

EXHIBIT “A”
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“oa 7 ads School of Medicine
| : 499 Thornhall Street, 10th Floor
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CAMPUS: FORTSMOUTH, DOMINICA WEST INDIES TEL. (232)978-$300

STUDENT 1D:{@] tooat730 OL JO T4S 8-17 13 EMAIL:CLINICat @HOSSMED.EDU
CLINICAL CLERKSHIP EVALUATION FORM

The physician responsible for supervising the clerkship will complete this evaluation at the end of a clinical clerkship. Print clearly.

. Medical Student DASRATH, ANAND Name of Clerkship Advanced Intro to Clinical Medicine

Clerkship Duration (No. Of Weeks) TWELVE Dates: Of \ {6 \ 06 to G4 \ 07 \ 06

Tn comparison with other medical students at the same level of clinical training, please rank the performance of the student. Select the
gragle evalastion from the five options listed below, Only whale numbers will be used in determining final grade.
o KEY
Excellent
Above Average
Average
Below Average
Fail
Picase see atiached bive capy for clerkship grading policy ased in calculating final grade,

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Knowledge of medical sciences (basic sconces, clinical sciences}

Knowledge of assigned patients (specific medical problems, laboratory information, therapeutic modatities, follow-up)

a Mofessionalism (rctiability, thozoughness, carefistavss, attendance, punctuality, inserpersonat relationships with
colcagues and staff, verbal and weitten case presentations, initiative)

Character (sensitivity lo patients, patient rapport, cthical values, personal appearance, emotional stabifity)
Comments:

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Lospital: H.€.1.C.-Greater Miami Health Education & Training Centers Telephone: ¢ 305 667-5455

 

 

 

 

’ Addvess: 7000 S.'V. Gand Avenue, PH-A City, State: Miami, FL Zip33ta3
Date: & / z. 3 ji 0 &
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Title: Director of Madica) Education

Evaluator(Prifty, Enrique S. Fensfdez, M.D., M.S.Ed.

  
  

Signature

Aker conipletion of rotation, celuntxginplethd WHITE Copy to: Dean of CSinical Sciences. Ross University Setyat of Medicine, 499 Thombalt Street,
Tenth Poor, Edison, NI 05537-2235 withte 30 days. Retain YELLOW copy for Hospital files.

CREDIT IS AWARDED ONLY FOR ORIGINAL EVALUATIONS,

DO0001

 
Student View Page } of I

 

 

 

 

 

 

 

 

 

 

 

View Gradebook Tips Help
View Gradebook _ User Activity . Setup Gradebook
back
My Gradebook: Anand Dasrath
Grade To Date: 59/100 (59%). View Gradebook By: Week } Item
Grade ’ Earned to Date Possible for Cau

Week 6: GRADES - Pre-Test Mc'@ 44/100 | Not Included in Grade | Not Included In Gr
{Week 6: GRADES - PreT-Essay ” | 25/200 | Not Included in Grade [Not Included In Gr

Week 8: Wribe-Ups - From Sem4 ara * *
-|Week 8: Write-Ups - Write-Up #1 done * *

Week 9; Mid-Term - Mult-Choice . _ , 98 pts.

Week 9: Mid-Term - MT-ESSAY * * 50 pts.

Week 9: Mid-Term - LETTER GRADE [oc * -

Week 10: PE GRADES - PE Grade *C * *

Wesk 11: Epi Grades - Epi/Blostats/PH Exam @ S0/76 FAIL| Not Inclided in Grade {Not Included in Gr

Week 12: Final Grades - Final MC Exam 59/100 59 pts. 100 pts.

 

Week 12; Final Grades ~ Final Essays % * *

36
Week 12: Final Grades - PowerPoint *
Week 12: Final Grades - Write-Up #2 Cc
Week 12: Final Grades ~ Extra Credit @ 36 Not Included in Grade —_| Not Included in Gr
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Week 13: COURSE GRADE - AICM FINAL COURSE GRADE * *
Week 14: Apr27 Comp - April 27 Comprehensive Shelf @

 

Not Included in Grade Not Included in Gr

 

 

 

 

 

 

Total 59 pts. (of 100 Completed) 248 pts.
Grade To Date: } 59/100 (59%)

 

Gradebook Key
* Items not yet graded
Exams not yet entered
Items with Dropbox Basket
Extra Credit
Excluded from Course Grade
View Exam Statlstics
Grades Inside brackets are not shared with the student
Bold values Indicate all Items have not been graded.
On certain views, you can click on column titles for Quick Grade Views

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Title

Medical Genetics
Doctor, Patient & Society
Biochemistry

Dev/Micrascopic Anat/Cell Biol

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Medical Genetics .
Doctor, Patient & Society
Dev/Mieroscopic Anat/Cell Biol

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Medical Physiology
Gross Anatomy

Neurobehavioral I

Title

Pharmacology I

Behavioral Science

Pathology I

Microbiology & Immunology i

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Phannacology II

Intro. to Clinical Medicine
Pathology if Systemic/Clinical
Microbiology & Immunology I

F 6
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Ct 3

Cc 4

SEMESTER GPA: 2.06

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A 3
B 4

SEMESTER GPA: 3.00

Grade Credit
Cc 6
Cc 3
Ct 4

SEMESTER GPA: 2.13

Bt . 3
B 3
Cc 4
c 3

SEMESTER GPA: 2.63

Grade Credit
B 3
Cc 5
Cc 4
Cc 3

SEMESTER GPA: 2.20

 

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2.5 12.5

2.0 8.0 —

CUMULATIVE GPA: 2.06

Grade Pes O-Pts
2.9 6.0
4.0 12.0
3.0 12.0

CUMULATIVE GPA: 2.44

Grade Pts O-Pts
2.0 12.0
2.0 10.0
2.5 10.0

CUMULATIVE GPA: 2,32

Grade Pis ' O-Pts
3.5 10.5
3.0 15.0
2.0 3.0
26 6.0

CUMULATIVE GPA: 2.40

Grade Pts Pts
3.0 9.0
2.0 16.0
2.0 80
2.0 6.0

CUMULATIVE GPA; 2.36

 

Official transcripts are printed on blue security paper and require the University seat and the Registrar's signature.

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Title - Grade Credi Grade Pts -Pts
Advanced Intro. To Clin. Med. F 0 0.0 0.0
SEMESTER GPA: 0.00 CUMULATIVE GPA: 2,01

 

 

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